 Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 1 of 10 PageID #: 16


                                                                                          CLOSED
                       U.S. District Court
             Western District of Louisiana (Lafayette)
  CRIMINAL DOCKET FOR CASE #: 6:21−mj−00012−PJH All Defendants

Case title: USA v. Vaughn                                   Date Filed: 01/14/2021
Other court case number: 1:21−mj−00056 District of Columbia Date Terminated: 01/14/2021

Assigned to: Magistrate Judge
Patrick J Hanna

Defendant (1)
Vaughn Allan Gordon                  represented by Cristie Gautreaux Gibbens
TERMINATED: 01/14/2021                              Federal Public Defenders Office (LAF)
                                                    102 Versailles Blvd Ste 816
                                                    Lafayette, LA 70501
                                                    337−262−6336
                                                    Fax: 337−262−6605
                                                    Email: cristie_gibbens@fd.org
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Public Defender or Community
                                                    Defender Appointment

Pending Counts                                      Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                   Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                          Disposition
18 USC 1752(a)(1)− Knowingly
Entering or Remaining in any
Restricted Building or Grounds
without Lawful Authority; 40 USC
5104(e)(2)(G)− Parading,
Demonstrating or Picketing in the
 Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 2 of 10 PageID #: 17


Capitol Buildings



Plaintiff
USA                                           represented by Daniel J McCoy
                                                             U S Attorneys Office (LAF)
                                                             800 Lafayette St Ste 2200
                                                             Lafayette, LA 70501
                                                             337−262−6618
                                                             Fax: 337−262−6682
                                                             Email: daniel.j.mccoy@usdoj.gov
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Assistant US Attorney

 Date Filed     # Page Docket Text
 01/14/2021    1        COMPLAINT as to Vaughn Allan Gordon (1). (Attachments: # 1 Affidavit)
                        (crt,Bray, K) (Additional attachment(s) added on 1/15/2021: # 2
                        SEALED−Arrest Warrant) (Bray, K). (Entered: 01/15/2021)
 01/14/2021    2        ORAL MOTION to Appoint Counsel by Vaughn Allan Gordon (1). (crt,Bray, K)
                        (Entered: 01/15/2021)
 01/14/2021    3        MINUTES for proceedings held before Magistrate Judge Patrick J Hanna:
                        INITIAL APPEARANCE as to Vaughn Allan Gordon (1) held on 1/14/2021.
                        Oral Order granting 2 Motion to Appoint Counsel. Appearances made by Daniel
                        J McCoy for USA, Cristie Gautreaux Gibbens for Vaughn Allan Gordon as to
                        Vaughn Allan Gordon (1). Defendant ordered to appear before the District of
                        Columbia on Friday, January 22, 2021 at 12:00 noon CST/1:00 p.m. EST for
                        further proceedings. Defendant ordered released on personal recognizance bond
                        after processing by U.S. Marshal pending further proceedings. (Court Reporter:
                        VTC) (crt,Bray, K) (Entered: 01/15/2021)
 01/14/2021    4        ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Vaughn Allan
                        Gordon (1). Signed by Magistrate Judge Patrick J Hanna on 1/14/2021. (crt,Bray,
                        K) (Entered: 01/15/2021)
 01/14/2021    5        APPEARANCE BOND entered as to Vaughn Allan Gordon (1): Personal
                        Recognizance Bond Signed by Magistrate Judge Patrick J Hanna on 1/14/2021.
                        (crt,Bray, K) (Entered: 01/15/2021)
 01/14/2021    6        ORDER Setting Conditions of Release as to Vaughn Allan Gordon (1) Personal
                        Recognizance Bond Signed by Magistrate Judge Patrick J Hanna on 1/14/2021.
                        (crt,Bray, K) (Entered: 01/15/2021)
 Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 3 of 10 PageID #: 18




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


UNITED STATES OF AMERICA                             CASE NO. 6:21-MJ-00012-01 WDLA
                                                              1:21-MJ-00056 D.C.
VERSUS

GORDON VAUGHN                                        MAGISTRATE JUDGE HANNA

                                   MINUTES OF COURT:
                                     Initial Appearance
 Date:               January 14, 2021         Presiding: Magistrate Judge Patrick J. Hanna
 Court Opened:       4:00 p.m.                Courtroom Deputy: Evelyn Alexander
 Court Adjourned:    4:25 p.m.                Court Reporter:       Zoom Recording
 Statistical Time:    :20                     Courtroom:            Video Conference
                                              Probation Officer:    Eric Villermin

                                       APPEARANCES
 Daniel J McCoy (AUSA)                       For   United States of America
 Cristie Gautreaux Gibbens (AFPD)            For   Vaughn Gordon, Defendant
 Vaughn Gordon, Defendant

                                       PROCEEDINGS

BEFORE COURT OPENED:
Defendant Interviewed by Pretrial Services Officer
Defendant Provided with Charging Document(s)
Pretrial Services Report Provided to Defendant

INITIAL APPEARANCE:
Initial Appearance on an Arrest Warrant from: District of Columbia
Defendant Sworn
Defendant and all counsel consented to the hearing being held via video conference
Defendant Advised of Charges, Maximum Penalties & Rights

Oral motion for appointed counsel by defendant.

Based on the information provided by the defendant, the court finds that defendant does not have
the financial resources to retain counsel. Order appointing the Office of the Public Defender to
represent defendant signed.

Reading of charging documents: Waived
 Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 4 of 10 PageID #: 19




Identity Hearing: Waived
Preliminary Hearing: Waived

The government is not moving for detention

Bond Set: Personal Recognizance Appearance Bond Signed (AO98)
Order Setting Conditions of Release Signed (Modified AO199)

Defendant ordered released after processing by U.S. Marshal pending further proceedings.

Defendant ordered to appear before the District of Columbia on Friday, January 22, 2021 at
12:00 noon CST/1:00 p.m. EST for further proceedings. Counsel for Defendant advised that the
conference room at the Office of the Federal Public Defender in Lafayette, LA is available for
Defendant use for that appearance.

Defendant is requesting appointment of counsel for appearances before the District of Columbia.

FILINGS:
Order Appointing Counsel
Appearance Bond
Order Setting Conditions of Release
Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 5 of 10 PageID #: 20
Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 6 of 10 PageID #: 21
Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 7 of 10 PageID #: 22
Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 8 of 10 PageID #: 23
Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 9 of 10 PageID #: 24
Case 6:21-mj-00012-PJH Document 7 Filed 01/15/21 Page 10 of 10 PageID #: 25
